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                   Exhibit 18O
                                                                          Page 1 of 2
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 Moskowitz, Keith

  From:        Rebecca Foreman [rforeman@dheclaims.com] on behalf of Patrick Juneau
               [pjuneau@dheclaims.com]
  Sent:        Tuesday, January 15, 2013 9:33 AM
  To:          Mark Holstein (Mark.Holstein@bp.com); Moskowitz, Keith; 'James Roy
               (jimr@wrightroy.com)' (jimr@wrightroy.com); Steve Herman (SHERMAN@hhklawfirm.com)
  Cc:          Orran L. Brown; Lynn Greer (lgreer@browngreer.com); Michael J. Juneau
               (MJJ@juneaudavid.com) (MJJ@juneaudavid.com); Christine Reitano
  Subject:     January 15, 2013 Policy Announcement
  Attachments: BROWNGREER-#418993-v1-CA_Policy_Announcement-1-15-13.DOCX




Gentlemen:

The Claims Administrator has thoroughly considered the submissions of both Parties regarding the
proper measurement of revenue and expenses for those BEL claimants with particularly variable
revenues. This is an issue that has particular relevance to claimants who are attorneys, construction
companies or farming enterprises. The Claims Administrator recognizes that the straightforward
application of the Settlement Agreement’s compensation formula to claimants in these industries can
result in awards that appear disproportionate when compared to award amounts for claimants in other
industries. BP has proposed alternative frameworks whereby claims within these industries would be
carved out for additional analysis and/or a revised analysis would be utilized to compute
compensation for certain types of claims. The Claims Administrator recognizes that the type
frameworks proposed by BP constitute a reasonable approach to evaluating such claims. But the
Claims Administrator does not view it within his authority to carve out specific types of claims in this
fashion nor to apply a revised formula or analysis for selected types of claimants. The specific charge
to the Claims Administrator is to apply the terms of the Settlement Agreement as written. When so
applied in this instance, the result can be disproportionate awards for certain types of claims. Though
the Claims Administrator acknowledges that the type approach proposed by BP is a reasonable one, he
does not believe it within his authority to implement such an approach absent agreement of the parties
or express direction from the Court.

Attached is the Claims Administrator’s Policy Announcement of January 15, 2013, which sets forth my
policy decision on this issue.




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2/18/2013
